Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 1 of 23




                EXHIBIT A
           Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 2 of 23

                                                                                                                W illiam W . T a yl or . I II
                                                                                                                                    PARTNER
                                                                                                          Z uc k er m an S p ae d er L L P
                                                                                                          wt a yl or @ zu c k er m an.c om
                                                                                                                       ( 20 2) 7 7 8- 18 1 0




                                                               April 2, 2021

VIA HAND DELIVERY AND E-MAIL
john.carlin@usdoj.gov

The Honorable John P. Carlin
Acting Deputy Attorney General
United States Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530-0001


            Re:         United States v. Steven Donziger, No. 19-cr-561 (S.D.N.Y.)
                        Chevron Corp. v. Steven Donziger, No. 11-cv-691 (S.D.N.Y.)

Dear Mr. Carlin:

        I write to request that the Department of Justice review the criminal
contempt prosecution of Steven Donziger being conducted in the Southern District
of New York by a special prosecutor appointed by Judge Lewis Kaplan of that court.
The order to show cause alleges willful violations of orders entered in civil RICO
litigation brought by Chevron against Mr. Donziger and others, litigation by which
Chevron has blocked enforcement in the United States of an Ecuadorian $8.6 billion
judgment against it for environmental pollution in the Lago Agrio region of
Ecuador.

       This prosecution merits your consideration because, in this instance, a
private company’s agenda is driving the enforcement of federal criminal law. The
attorney implementing that enforcement identifies herself as representing the
United States but acknowledges no responsibility to or control by the Department of
Justice. By virtue of the judicial appointment, she, and the judge who appointed
her, consider that she enjoys independence from the supervision to which every
other federal prosecutor is subject. She is free to ignore the fact that she is
implementing the agenda of a private litigant in the name of the United States by
seeking to convict the litigant’s adversary of a crime.

       The charges against Mr. Donziger and the procedures by which they arose
and are being conducted now can only be described as bizarre at best, vindictive and
cruel at worse. Mr. Donziger has been subjected to home confinement for over

1 8 0 0 M S T R E E T N W , S T E . 1 0 0 0 , W AS H I N G T O N , D C 2 0 0 3 6 - 5 8 0 7 | T 2 0 2 . 7 7 8 . 1 8 0 0 | F 2 0 2 . 8 2 2 . 8 1 0 6

      Z U C K E R M AN S P AE D E R L L P | W AS H I N G T O N , D C | N E W Y O R K | T AM P A | B AL T I M O R E

                                                                                                                                      7671325.1
          Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 3 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 2




nineteen months, an extraordinary restraint for a petty offense. The case has
received international attention. For example, 55 Nobel laureates have issued a
statement in support of Mr. Donziger and demanded his release.1 The need for
review and supervision is more critical because of the involvement of the district
judge who inspired and then presided over Chevron’s civil RICO case against Mr.
Donziger, and who, after appointing the special prosecutor and hand-picking
another judge to preside over the criminal contempt trial, declined to recuse himself
from the prosecution. The same judge forced Mr. Donziger to defend simultaneously
civil contempt for the same offenses for which the Special Prosecutor now seeks his
conviction.

       I will describe the history of the underlying litigation later, and I think you
will see in that history a pattern of procedural unfairness and personal animus that
warrants review of the criminal contempt prosecution by a dispassionate third
party. The special prosecutor’s refusal to forego any communications with
Chevron’s counsel and the district judge and her refusal to disclose the contents of
those communications precludes confidence that this is a prosecution that properly
invokes the name and sovereign authority of the United States.

       The United States Attorney for the Southern District of New York declined to
pursue the district court’s order to show cause, citing resource constraints. As
discussed more fully below, the special prosecutor appointed by the court pursuant
to Fed. R. Crim. P. 42(a)(2) is nonetheless an inferior officer wielding authority of
the executive branch who must therefore be subject to the oversight of principal
officers in the executive branch, not to the direction of the appointing judge (or to no
direction from anyone). I urge the Department to review both the prosecutorial
merits of the contempt charges and the continued pursuit of those charges after Mr.
Donziger has already spent nineteen months in home detention before trial, more
than three times the maximum home detention penalty for a concededly petty
offense authorized under the Sentencing Guidelines. U.S.S.G. § 5F1.2. Three of the
allegedly willful contempts arise from production-related orders Mr. Donziger was
required to disobey in order to challenge them on appeal (negating willfulness), and
the Second Circuit has recognized that at least one of the remaining counts is
invalid because of an ambiguity the district court created in a stay ruling. United
States v. Donziger, No. 20-1710-cr, slip op. at 2 n.2 (2d Cir. March 29, 2021) (citing
Chevron Corp. v. Donziger, 2021 WL 821456 (2d Cir. Mar. 4, 2021)).



1https://www.makechevroncleanup.com/press-releases/2020/11/5/full-statement-of-
55-nobel-laureates-in-support-of-us-human-rights-lawyer-steven-donziger.



                                                                                  7671325.1
          Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 4 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 3




        Mr. Donziger has already paid an enormous price for his role in the litigation
against Chevron. The district court ordered him to disgorge any interest in the
Ecuadorian judgment, and imposed liability for over $800,000 in court costs. An
appellate court has ordered his disbarment, subject to a pending request for review
by the New York Court of Appeals. All of those consequences stem from factual
findings Judge Kaplan made in the non-jury civil RICO trial. I assume the
Department will take those findings into consideration in deciding our request, but
it will also understand that this judge has taken an unprecedented personal role in
Chevron’s campaign against Mr. Donziger. It is not necessary to conclude Mr.
Donziger is blameless for all that has occurred to conclude that this criminal
prosecution is an abuse and one which requires executive branch control to assure
basic separation of powers.

       “While a court has the authority to initiate a prosecution for criminal
contempt, its exercise of that authority must be restrained by the principle that only
[t]he least possible power adequate to the end proposed should be used in contempt
cases.” Young v. United States ex rel. Vuitton et fils SA, 481 U.S. 787, 801 (1987)
(cleaned up). Just as the judicial branch imposes a necessary constitutional check
on prosecutions by the executive branch, executive branch oversight—here in the
form of a review by the Department—is a necessary constitutional check on a
judicially-initiated prosecution that is disproportionate to the end of compliance
with the post-judgment orders issued in the civil RICO case.

                   BACKGROUND OF THE CHEVRON LITIGATION

       The full background of the litigation out of which this criminal contempt
prosecution arises extends over more than two decades and hundreds of pages of
judicial opinions.2 The earliest relevant decision is Jota v. Texaco, Inc., 157 F.3d
153 (2d Cir. 1998), which conditioned forum non conveniens dismissal of a civil
action filed in 1993 in the Southern District of New York by residents of the Lago
Agrio region of Ecuador alleging environmental damage by Texaco on Texaco’s
submission to jurisdiction in Ecuador. In 2002, the Second Circuit affirmed
dismissal of the Southern District of New York action in favor of litigation in
Ecuador. Aguinda v. Texaco, Inc., 303 F.3d 470 (2d Cir. 2002). The Lago Agrio
residents filed suit in Ecuador in 2003 and ultimately obtained a judgement against
Chevron, Texaco’s successor.




2A Westlaw search for “Chevron & Ecuador & Donziger” in the Second Circuit and Southern District
of New York returned 78 relevant opinions.




                                                                                          7671325.1
          Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 5 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 4




Chevron’s Ancillary Action under 28 U.S.C. § 1782

       The litigation returned to the Southern District of New York in 20103 when
Chevron filed an action for discovery pursuant to 28 U.S.C. § 1782 on its own behalf
and that of two lawyers working for Chevron threatened with criminal prosecution
in Ecuador for allegedly falsifying documents connected to a 1995 settlement and
release between Chevron and the Ecuadorian government. Chevron claimed the
prosecution of the Chevron lawyers in Ecuador resulted from connivance between
Mr. Donziger and the Ecuadorian government led by then-President Rafael Vicente
Correa Delgado. In re Application of Chevron Corp., 709 F. Supp.2d 283 (S.D.N.Y.
2010). The criminal charges against the Chevron attorneys played a crucial role in
propelling forward what the District Court described as “a race” between discovery
in the United States and the entry of judgment against Chevron in Ecuador and the
prosecution of the lawyers. 749 F. Supp. 2d 170, 172–73 (S.D.N.Y.), aff'd sub
nom. Lago Agrio Plaintiffs v. Chevron Corp., 409 F. App'x 393 (2d Cir. 2010).

       The matter was assigned to Judge Kaplan, who authorized the issuance of
subpoenas for “outtakes” of a documentary film, Crude, that portrayed the Lago
Agrio residents’ litigation against Chevron in Ecuador and Mr. Donziger’s role in it.
While an appeal of that order was pending, Chevron sought additional discovery
from the filmmaker, and to compel production of certain disputed material. The
District Court rejected the filmmaker’s charge that Chevron had violated the
Second Circuit’s partial stay order by improperly disclosing subpoenaed material to
the National Association of Manufacturers. 736 F. Supp. 2d 773, 789 (S.D.N.Y.
2010) (“A newspaper clipping stating that Chevron provided transcripts of outtakes
is not admissible to prove the truth of the statement and certainly not clear and
convincing evidence,” as would be required for civil contempt). The Second Circuit
affirmed the original subpoena to the documentary filmmaker. Chevron Corp. v.
Berlinger, 629 F.3d 297 (2d Cir. 2011).

        Next, in a separate § 1782 case assigned to Judge Kaplan as related to the
first, the District Court granted a deposition of Mr. Donziger to gather information
about his alleged role in reinstating criminal charges against the Chevron attorneys
in Ecuador. 749 F. Supp.2d 135 (S.D.N.Y. 2010). The District Court subsequently
allowed Chevron to question and obtain privileged documents from Mr. Donziger
after holding that he had waived the privilege by failing to timely produce a


3There was also litigation between Texaco and the Republic of Ecuador concerning the division of
responsibility for harm between Texaco and Ecuador’s state-owned oil company in the Southern
District of New York and the Second Circuit that has no direct bearing on the criminal contempt
case.




                                                                                             7671325.1
          Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 6 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 5




privilege log. 749 F. Supp.2d 141 (S.D.N.Y. 2010). The waiver ruling was based on
Mr. Donziger’s failure to file the privilege log by the date the court had specified,
even though the order had been stayed on that date, and even though Mr. Donziger
had produced a 2,000-page log within hours after the Second Circuit denied his
appeal and dissolved the stay and had already produced all non-privileged
documents before the waiver ruling. See Order, 10:MC-002, ECF 124 (S.D.N.Y.
Nov. 30, 2010). Chevron deposed Mr. Donziger for an extraordinary 15 days.

Chevron’s Suit Under the New York Recognition Act and Civil RICO

       On February 1, 2011, Chevron filed a civil action under RICO and state law
against Mr. Donziger, others associated with the Ecuadorian litigation, and
representatives of the Lago Agrio plaintiffs, and a motion for a temporary
restraining order and preliminary injunction under a New York statute governing
recognition of foreign judgments. Chevron Corp. v. Donziger, 768 F. Supp.2d 581
(S.D.N.Y. 2011).4 Chevron identified the new action as related to the earlier
proceeding under 28 U.S.C. § 1782, and it was assigned to Judge Kaplan over Mr.
Donziger’s protests. ECF 158 (letter requesting reassignment); ECF 160 (motion for
transfer to the judge who handled the earliest-filed related matter).5 Chevron
knew that Judge Kaplan would be receptive to its RICO claims because he had
characterized Mr. Donziger’s actions as a RICO violation in a September 23, 2010
hearing in one of the § 1782 actions. ECF 161, Peters Decl. Ex. C, 9/23/2010 Hr’g
Tr. 24:6-22 (“Now do the phrases Hobbs Act, extortion, RICO, have any bearing
here?”).

       After granting Chevron’s request for a TRO on February 8, 2011 (ECF 77),
the District Court gave Mr. Donziger only until February 11 to file an opposition to
the motion for a preliminary injunction supported by over 5000 exhibits, even
though Mr. Donziger had notified the court that he did not yet have counsel. ECF
158 (letter requesting time to respond to obtain counsel), ECF 161-12 (transcript).
The Ecuadorian trial court entered its multi-billion-dollar judgment against
Chevron on February 14, 2011. When Mr. Donziger’s newly-retained counsel asked
for more time to oppose the preliminary injunction on February 17, Judge Kaplan
denied the request and later warned his lawyer (John Keker) against future
“disobedience” for having filed a belated opposition to the preliminary injunction on
February 24. ECF 137 (opposition); ECF 192 (order). On March 7, 2011, the


4
  Around the same time, the Second Circuit held that Ecuador had consented to international
arbitration of its dispute with Chevron. Republic of Ecuador v. Chevron Corp., 638 F.3d 384 (2d Cir.
2011).
5 Except as otherwise indicated, “ECF” refers to entries on the civil RICO docket: No. 11-cv-691.




                                                                                              7671325.1
          Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 7 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 6




District Court granted the preliminary injunction and later denied a stay requested
by the Lago Agrio plaintiffs. 2011 WL 1408386 (S.D.N.Y. April 11, 2011). The
District Court then granted Chevron’s motion for expedited discovery with respect
to the equitable relief it sought against Mr. Donziger, continuing its “race” against
the Ecuadorian proceedings, even though the Ecuadorian judgment was stayed
pending appeal in Ecuador at the time. 800 F. Supp.2d 484 (S.D.N.Y. 2011). The
Second Circuit vacated the preliminary injunction three days after argument, with
opinion to follow. Chevron Corp. v. Naranjo, No. 11-1150-cv(L), 2011 WL 4375022
(2d Cir. Sept. 19, 2011).

      After having previously rejected a motion to reassign the case to the District
Judge who had presided over the original litigation between Texaco and the Lago
Agrio plaintiffs, Judge Kaplan denied the Lago Agrio plaintiffs’ motion for recusal.
783 F. Supp.2d 713 (S.D.N.Y. 2011). Discovery in what became separate civil
actions against Mr. Donziger and the Lago Agrio plaintiffs continued.

       Meanwhile, back in Ecuador, “Chevron presented its alleged evidence of
fraud to the Ecuadorian trial court, eventually convincing it to dismiss the Cabrera
report's interpretations—but not its data—from the trial court's final decision.”
Chevron Corp. v. Naranjo, 667 F.3d 232, 237 (2d Cir. 2012). On January 3, 2012,
the appellate court in Ecuador upheld a judgment against Chevron after de novo
review of the record. Id.

       Soon after the Ecuadorian court’s affirmance of the judgment, the Second
Circuit issued its Naranjo opinion explaining why it had reversed Judge Kaplan’s
preliminary injunction, holding that New York’s judgment recognition statute did
not authorize a preemptive suit to block enforcement and remanded with directions
to dismiss the action based on the Recognition Act. Id. at 247.

      On November 12, 2013, the Court of Cassation in Ecuador affirmed the
appellate court’s judgment but eliminated the award of $8.6 billion in punitive
damages if Chevron refused to apologize for its actions. The Constitutional Court of
Ecuador subsequently upheld the judgment on June 27, 2018.

      After further contentious litigation over discovery (including third party
discovery by Chevron from Patton Boggs which had been working with the Lago
Agrio plaintiffs) and motions, the District Court scheduled the civil RICO trial
against Mr. Donziger for October 2013. Shortly before trial, after Judge Kaplan
urged Chevron’s lawyers to “get off the dime,” (ECF 1424 at 11), Chevron opted to
dismiss all of its claims for damages, avoiding a jury trial and allowing Judge
Kaplan to act as fact-finder. ECF 1469 (Chevron notice); Chevron Corp. v. Donziger,




                                                                                7671325.1
          Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 8 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 7




No. 2013 WL 5548913, at *1 (S.D.N.Y. Oct. 7, 2013). The District Court held “a
seven-week bench trial at which the evidence included live testimony from more
than 30 witnesses, 25 of whom were called by Chevron; deposition testimony of 22
witnesses, all presented by Chevron; and more than 4,000 documents.” Chevron
Corp. v. Donziger, 833 F.3d 74, 85 (2d Cir. 2016).

The Civil RICO Judgment

        On March 4, 2014, the District Court issued its 343-page opinion plus
appendices on the civil RICO claims. 974 F. Supp.2d 362 (S.D.N.Y. 2014). The
District Court’s findings included that that Mr. Donziger had committed serious
acts of misconduct in Ecuador that would be crimes if they had been prosecuted by
the Department and found by a jury. The District Court’s civil RICO judgment “(i)
imposed a constructive trust for Chevron's benefit upon any proceeds ‘traceable to
the [Lago Agrio] Judgment’ or its enforcement that Donziger or the LAP
Representatives have received or might receive, (ii) required that Donziger “execute
in favor of Chevron a stock power transferring” to the company ‘all of his right, title
and interest in his shares of Amazonia,’ a company organized to collect and
distribute any proceeds of the Lago Agrio Judgment, (iii) enjoined Donziger and the
LAP Representatives from ‘[f]iling or prosecuting any action for recognition or
enforcement of the [Lago Agrio] Judgment’ (or any new judgment based upon the
Lago Agrio Judgment) ‘in any court in the United States,’ and (iv)
prohibited Donziger and the LAP Representatives from attempting to ‘monetize or
profit from the [Lago Agrio] Judgment, ... including ... by selling, assigning,
pledging, transferring or encumbering any interest therein.’” 37 F. Supp. 3d 653,
655–56 (S.D.N.Y. 2014). The District Court denied a stay pending appeal. Id. at
672. The Court of Appeals affirmed the judgment. 833 F.3d 74 (2d Cir. 2016).6

The Award of Costs to Chevron in the Civil RICO Case

     The District Court subsequently awarded costs and interest to Chevron in the
amount of $813,602.71, including a portion of the fees of special masters the Court


6 Shortly before the Second Circuit decided Mr. Donziger’s appeal, the Supreme Court held the
private civil right of action under RICO was not extraterritorial and required proof of a “domestic
injury to its business or property.” RJR Nabisco v. European Community, 130 S. Ct. 2090, 2106
(2016). That decision overturned Second Circuit precedent at the time Mr. Donziger’s counsel
briefed his appeal from the civil RICO judgment. However, the Second Circuit upheld the District
Court’s determination that, “Chevron's legal fees—those already expended to uncover Donziger's
wrongful conduct and those being spent and soon-to-be-spent to defend against enforcement
proceedings—constituted further injury to Chevron.” 833 F.3d at 135.




                                                                                               7671325.1
          Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 9 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 8




had appointed to oversee discovery. Chevron Corp. v. Donziger, 2018 WL 1137119,
at *21 (S.D.N.Y. Mar. 1, 2018). As part of its rationale for awarding costs to
Chevron, the District Court described Mr. Donziger’s “behavior in this litigation [as]
outrageous and, in many respects, far beyond the bounds of propriety.” Id. at *15.
The District Court rejected Mr. Donziger’s argument that costs could not be
awarded to Chevron because of its own payments to a key witness (a judge who at
one time claimed that he had ghost written the Ecuadorian judgment for a
colleague), including payments for physical evidence and $10,000 per month in
expenses plus health insurance and a car. Id. at *13-14. The Court of Appeals
recently affirmed the award of costs. 2021 WL 821456, at *10, 17 (2d Cir. March 4,
2021).

Chevron Seeks Civil Contempt

       On March 19, 2018, Chevron moved to hold Mr. Donziger in civil
contempt and sought post-judgment discovery. The District Court found Mr.
Donziger had not timely complied with the order to transfer his interest in a
corporation established to hold funds from the Ecuadoran judgment, but
declined to impose civil contempt sanctions because he had executed a stock
transfer, albeit with an addendum clarifying the legal basis for the transfer.
2018 WL 2247202, at *6 (S.D.N.Y. May 16, 2018). The Court granted
Chevron’s request for discovery concerning Mr. Donziger’s compliance with
the civil RICO judgment, and scheduled a hearing on whether he had
violated the judgment by attempting to sell shares of the judgment to Elliott
Management, a hedge fund. Id. at *7.

      The District Court denied Mr. Donziger’s motion for a protective order
with regard to Chevron’s discovery into both his assets (to satisfy the
judgment for costs) and his alleged attempts to “monetize” the Ecuadorian
judgment. 325 F. Supp.3d 371 (S.D.N.Y. 2018). It also ordered him to
execute a stock transfer without the clarifying language he had added and to
assign to Chevron an unqualified assignment of all assets traceable to the
Ecuadorian judgment. 2018 WL 4360770, at *4 (S.D.N.Y. Aug. 15, 2018).

      As the Court of Appeals recently recounted, “[b]etween September
2018 and May 2019, Chevron filed five motions to hold Donziger in
contempt.” 2018 WL 821456 at *4. On March 5, 2019, finding that Mr.
Donziger had failed to comply with Chevron’s discovery requests, the District
Court also ordered Mr. Donziger to turn over electronic devices to a court-
appointed expert to extract documents under a “Forensic Inspection Protocol”
that would allow an expert retained by Chevron to search for responsive




                                                                                 7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 10 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 9




documents. 425 F. Supp. 2d 397 (S.D.N.Y. 2019). Then, on May 23, 2019, the
District Court held Mr. Donziger in civil contempt: (1) for failing to assign his
interest under a 2017 retainer agreement to Chevron pursuant to the civil
RICO injunction; (2) “monetizing” the Ecuadorian judgment by selling
interests in it to investors and then using the money to compensate himself
for legal work; (3) violating an order restraining money transfers to collect
the cost judgment; and (4) failing to surrender his devices as required by the
Forensic Inspection Protocol. The District Court imposed fines to coerce
compliance.

       The Second Circuit recently decided Mr. Donziger’s appeal of the civil
contempt orders. The Court affirmed (as unchallenged on appeal) the civil
contempt findings other than those for “selling interests in the Ecuadorian
Judgment to finance the litigation.” 2018 WL 821456, at *10. Although the
Court of Appeals concluded that Mr. Donziger’s conduct did violate the civil
RICO injunction as written, it reversed the contempt findings in light of the
District Court’s order denying a stay of the injunction. Id. at *11 (“Standing
alone, the Injunction was unambiguous and would support a contempt
finding if Donziger sold interests in the Ecuadorian Judgment to pay himself
retainer payments and arrears.”). The Court of Appeals found that the
reasons the District Court gave for denying Mr. Donziger’s motion for a stay
of the civil RICO injunction pending appeal “injected considerable
uncertainty.” Id. at *12. Although the District Court could not have actually
modified the civil RICO injunction by the stay ruling, the ruling created
doubt about the injunction’s meaning. As reasonably understood in light of
the stay ruling, the injunction was not “clear and unambiguous” enough to
permit a civil contempt finding for selling shares of the Ecuadorian judgment
belonging to others and using the funds to pay for his legal services. Id. at
*16.

The Criminal Contempt Prosecution

        On July 30, 2019, Judge Kaplan issued an order to show cause why
Mr. Donziger should not be held in criminal contempt pursuant to Fed. R.
Crim. P. 42. ECF 2276. The order alleged six contempt offenses. The first
three offenses related to orders compelling Mr. Donziger to produce
information Chevron sought. Count 1 alleged that Mr. Donziger had willfully
violated the Forensic Inspection Protocol ordered on March 5, by failing to list
all of his devices and accounts between March 8 and March 28, 2019. Count
2 alleged that Mr. Donziger willfully violated the Forensic Inspection Protocol
by failing to turn over his devices to the court-appointed expert between May




                                                                                    7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 11 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 0




18 and May 28, 2019. Count 3 alleged that Mr. Donziger had willfully
violated a June 11, 2019 order to surrender his passport entered as a means
of compelling compliance with discovery orders. Because each of the orders
stemmed from orders to produce information in response to Chevron’s
requests, Mr. Donziger could appeal them only by refusing to comply and
appealing the resulting civil contempt finding. See Mohawk Indus. v.
Carpenter, 585 U.S. 100 (2009). Disobedience of a court order for the purpose
of invoking appellate review cannot be willful criminal contempt.

        The remaining three counts related to orders compelling Mr. Donziger
to disgorge and turn over to Chevron any property traceable to the
Ecuadorian judgment. Count 4 alleged that Mr. Donziger willfully failed to
transfer to Chevron a contingent fee interest under a 2011 retainer
agreement between March 4, 2014 and September 3, 2018. Mr. Donziger
complied with this obligation long before the District Court even entered its
civil contempt order. Chevron Corp. v. Donziger, 384 F. Supp.3d 465, 477
(S.D.N.Y. 2019) (“In September 2018, following extensive motion practice and
another explicit directive from this Court he finally did so.”). Count 5 alleged
that Mr. Donziger had willfully failed to transfer to Chevron a property
interest in the Ecuadorian judgment under a 2017 agreement between
November 1, 2017 and May 27, 2019. The Second Circuit’s recent March 29,
2021 decision in the home detention appeal indicates that the same
ambiguity that invalidated civil contempt orders in the March 4, 2021 appeal
also “applies to one of the six grounds for criminal contempt,” referring in
context to Count 5. United States v. Donziger, No. 20-1710-cr, slip op. 2 n.2.
Count 6 alleged that Mr. Donziger had willfully monetized the Ecuadorian
judgment on or about December 23, 2016, by trading a portion of his interest
for personal services. See Chevron Corp. v. Donziger, 384 F. Supp.3d 465,
480-81 (S.D.N.Y. 2019) (civil contempt order describing alleged exchange of
an interest in the Ecuadorian judgment for services of an “executive coach”).

      In a separate order, Judge Kaplan appointed Rita M. Glavin to
prosecute Mr. Donziger on the criminal contempt charges alleged in the order
to show cause. ECF 2277. The order noted that the District Court had
tendered the order to show cause to the United States Attorney, who had
declined “on the ground that the matter would require resources that we do
not have readily available.” Judge Kaplan arranged for assignment of the
criminal contempt case to Judge Preska, who had previously handled
settlement of the suit by Chevron against Patton Boggs arising from the
Ecuadorian litigation. ECF 2276.




                                                                                   7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 12 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 1




       At a scheduled arraignment on August 6, 2019, Judge Preska ordered
home detention with electronic monitoring with strict conditions, a bond in
the amount of $800,000 secured by property in that amount, with at least two
co-signers. 19-cr-561, ECF 4.

       Mr. Donziger moved to recuse Judge Kaplan’s colleagues on the
District Court or to transfer the criminal contempt case to another district.
He also moved to recuse Judge Preska specifically on the ground that under
the Southern District’s procedures, the case should have been randomly
assigned after Judge Kaplan’s recusal. Judge Preska denied both grounds for
recusal. She noted that Judge Kaplan had not recused himself in the criminal
contempt case, also concluding that he had no obligation to recuse himself.
Therefore, Judge Preska reasoned, even if the local case assignment
procedures after recusal gave parties right with regard to judicial
assignment, they had not been triggered by a recusal. 19-cr-561, ECF 40;
United States v. Donziger, 2020 WL 2216556, at *4 (S.D.N.Y. May 7, 2020).

       Judge Preska also denied Mr. Donziger’s motion, supported by a
declaration by a legal ethics expert, to disqualify the special prosecutor Judge
Kaplan had appointed on the basis of her then-law firm Seward & Kissel’s
involvement with the oil industry, including ties to a hedge fund, Oaktree
Capital Management, that includes a member of the Chevron board of
directors. Seward & Kissel had also represented Chevron in a small matter
that had concluded before the special prosecutor’s appointment. Id. at *5-7.
Judge Preska also denied Mr. Donziger’s motion to dismiss the contempt
charges. Id. at 8-9.

       Finally, the Court denied Mr. Donziger’s request for disclosure of
communications between the special prosecutor and Chevron or its attorneys.
Id. at *9. On January 10, 2021, Judge Preska also denied Mr. Donziger’s
motion to dismiss Counts 1-3 of the order to show cause (the failure to
produce related counts), rejecting his argument that if a litigant must refuse
to comply with an order (such as an order to produce) to appeal it, that
refusal cannot be the basis for a criminal contempt charge.

       Mr. Donziger appealed the home detention order. The Court of
Appeals affirmed. No. 19-4155 (2d Cir. Feb. 18, 2020). Mr. Donziger
appealed again after the special prosecutor subsequently confirmed her
intention to try the case as a petty offense before Judge Preska without a jury
with a maximum total sentence of six months. The Court of Appeals
affirmed. United States v. Donziger, No. 20-1710-cr (2d Cir. March 29, 2021).




                                                                                   7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 13 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 2




As one member of the panel that heard Mr. Donziger’s home detention appeal
noted, he has already served more than three times as long in home
detention as the maximum term for a “Zone A” offense with a maximum
guideline sentence of six months, if the Court were to substitute home
detention for imprisonment. U.S.S.G. § 5F1.2.7

        After Judge Kaplan launched the criminal case, Mr. Donziger moved to
adjourn a hearing in the civil RICO case into whether he had successfully
purged himself of civil contempt. Although the presiding magistrate judge
initially adjourned the hearing, on December 9, 2019, Judge Kaplan stepped
in, and ordered the hearing to proceed as scheduled. Because such a hearing
would necessarily involve facts relevant to the criminal charges, Mr. Donziger
sought a writ of mandamus to preserve his Fifth Amendment privilege by
stating the purge hearing. Judge Kaplan personally submitted a pointedly
adversary response to the petition. No. 20-464, ECF 28. The Court of
Appeals denied the writ on the ground that Mr. Donziger had “not
demonstrated that exceptional circumstances warrant the requested relief or
that he lacks an adequate, alternative means of obtaining relief. No. 20-464
(2d Cir. May 13, 2020).”

       After continuances related to the COVID-19 pandemic, Mr. Donziger’s
non-jury trial is currently scheduled for May 10, 2021. He remains in
pretrial home detention.

    THE CRIMINAL CONTEMPT PROSECUTION OF MR. DONZIGER MUST
           BE REVIEWED BY THE DEPARTMENT OF JUSTICE

        The contempt prosecution originates in Chevron’s attack on the
judicial system of Ecuador, after its success in avoiding having to litigate its
environmental damage to Ecuadorian lands in the United States. Chevron’s
initial efforts to gather information pursuant to 28 U.S.C. § 1782 sought
information bearing on the Ecuadorian prosecution of two of its attorneys (for
allegedly falsifying documents concerning a settlement and release) as well
as on the legitimacy of an anticipated judgment in the Lago Agrio litigation
(for purposes of an international arbitration). Throughout the history of the
litigation before Judge Kaplan, Chevron has repeatedly tied its specific
charges of litigation misconduct to a broader indictment of the integrity of the


7The recording of the argument is available at
https://www.ca2.uscourts.gov/decisions/isysquery/da11d0f8-8d92-47e2-99ac-b6f2961bbf92/32/doc/20-
1710.mp3.




                                                                                           7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 14 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 3




Ecuadorian judiciary and the Ecuadorian government at the time. After
fighting for a decade against litigating the Lago Agrio claims in the United
States, Chevron has now succeeded in putting the claimants’ lawyers and the
Ecuadorian judiciary on trial in the United States, while avoiding any
consideration by United States courts of the underlying merits of the claims.

       Judge Kaplan’s opinion after the civil RICO trial was clear that in
adjudicating Chevron’s claims against Mr. Donziger, he was not exonerating
Chevron’s predecessor Texaco from claims of contaminating the land and
water of Ecuador. See Chevron Corp. v. Donziger, 833 F.3d 74, 85 (2d Cir.
2016) (quoting the District Court) (“The Court assumes that there is pollution
in the Orienté. On that assumption, Texaco and perhaps even Chevron —
though it never drilled for oil in Ecuador — might bear some responsibility.
In any case, improvement of conditions for the residents of the Orienté
appears to be both desirable and overdue.”)

        From the perspective of an international community deeply concerned
by evidence independent of the Ecuadorian judgment that Texaco contributed
to the environmental devastation of the Lago Agrio region, the prosecution of
Mr. Donziger creates an appearance that the judicial system in the United
States is stacked against the claimants and in favor of Chevron.8 That
perception alone warrants the Department’s intervention to review the
prosecution.

       An additional reason for the Department to review the prosecution is
the danger that other large corporations will emulate Chevron’s playbook in
this case to crush opposing litigants. Another law firm, Kasowitz Torres
Benson LLP, has filed similar civil RICO litigation on behalf of a lumber
company and an oil pipeline company. Resolute Forest Products v.
Greenpeace Int’l, No. 17-cv-02824 (N.D. Ca.); Energy Transfer Equity L.P. v.
Greenpeace Int’l, No. 17-cv-173 (D.N.D.). On January 22, 2019, the district
court dismissed the civil RICO claims (other claims survived dismissal) in the
Resolute Forest Products case and awarded fees under the California anti-
SLAPP statute. On February 14, 2019, the district court dismissed the civil
RICO claims in the Energy Transfer case.




8For example, an independent consulting firm retained by U.S. lawyers representing the Republic of
Ecuador issued a report documenting continued environmental damage traceable to Texaco.
https://chevroninecuador.org/assets/docs/2014-11-07-lbg-expert-report.pdf




                                                                                            7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 15 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 4




        The failure of those efforts to deploy civil RICO against environmental
groups may not deter future attempts if Chevron’s efforts lead to Mr.
Donziger’s imprisonment for criminal contempt on top of the civil RICO
disgorgement order, the judgment for hundreds of thousands of dollars of
Chevron’s costs for litigating the civil RICO case and disbarment. The risks
from bringing such civil RICO actions are asymmetrical. For the
corporations and their lawyers bringing the civil RICO claims, the only thing
lost is money spent in litigation (and in the Resolute Forest Products case
some additional money to reimburse the other side’s legal fees), while the risk
for environmental advocates is financial ruin and possible incarceration.

         The Department has recognized that certain kinds of criminal
investigations need closer oversight, such as cases involving attorneys and
journalists. See Department of Justice Report on Review of News Media
Policies (July 12, 2013); 28 C.F.R. § 50.10 (regulation on investigation of
journalists); Justice Manual § 9-13.400 (guidelines on investigation of
journalists); Justice Manual § 9-13.410 (guidelines for subpoenas to attorneys
related to representation of clients); Justice Manual § 9-13.420 (guidelines for
searches of offices of subject attorneys). For similar reasons, the Department
of Justice should closely monitor criminal contempt prosecutions of attorneys
that stem from litigation concerning their representation of clients—at least
when they pose the risk of intimidating advocates against environmental
harm by large corporations.

       A disinterested observer (a former SDNY Assistant United States
Attorney)9 who looked at the record came away with reservations. The
referee appointed by the state court to hold a hearing on whether Mr.
Donziger should be disbarred, concluded that “it is open to question * * *
whether [Mr. Donziger] did receive a full and fair hearing before Judge
Kaplan notwithstanding the length of the proceeding and the volume of
evidence.” Decision on the Procedure for the Post-Suspension Hearing, In the
Matter of Steven R. Donziger (N.Y. App. Div. 1st Dept. Nov. 8, 2018). After
receiving evidence about Mr. Donziger’s conduct and the proceedings before




9   https://foxhorancamerini.com/partners/john-r-horan-2/




                                                                                   7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 16 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 5




the District Court in the civil RICO case, the referee recommended that Mr.
Donziger’s suspension terminate and that he should be allowed to resume the
practice of law:

                While Respondent is often his own worst enemy and has made
         numerous misjudgments due to self-confidence that may border on
         arrogance, and perhaps too much zeal for his cause, his field of practice
         is not the usual one. Lawyers with his endurance for the difficult case,
         one which is constantly financially risky and usually opposed by the
         best paid national firm lawyers available, are not available often. The
         extent of his pursuit by Chevron is so extravagant, and at this point so
         unnecessary and punitive, while not a factor in my recommendation, is
         nonetheless background to it. He has lost the Lago Agrio Judgment,
         his fee as well, and is besieged with litigation by Chevron and faces
         severe financial burdens.

                                                ***

                Assessment of character is not an exact science, but we can all
         agree that the essential components are honesty, integrity, and
         credibility. It is far from clear that Respondent is lacking in those
         qualities as the Committee argues. We are here engaged in a
         prediction that despite his flaws noted herein, Respondent has such
         character and is essentially working for the public interest and not
         against it, his desire to make a large fee notwithstanding. None of
         those who testified for these qualities of Respondent are the sort who
         would carelessly toss off an opinion about character or misrepresent
         his reputation in the world community. They are inherently credible as
         witnesses, in my opinion. If his interest in earning a large fee makes
         his character suspect, the entire bar is suspect.



While the state intermediate appellate court later rejected the referee’s
recommendation and ordered disbarment, concluding that Mr. Donziger was
collaterally estopped to contest the District Court’s findings in the civil RICO
case, Matter of Donziger, 186 A.D.3d 27, 28, 128 N.Y.S.3d 212, 213 (2020)
(“pursuant to the doctrine of collateral estoppel, this Court found respondent
guilty of professional misconduct”), the findings of the referee support the
perception that by steering the civil RICO case to Judge Kaplan after the




                                                                                     7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 17 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 6




completion of ancillary proceedings, Chevron succeeded in finding and then
exploiting an hospitable forum.

        During the bar disciplinary hearing, John Keker, one of the lawyers
who represented Mr. Donziger in the civil RICO litigation described the
proceedings as “a farce.” “Mr. Keker, a Marine veteran and a widely admired
trial lawyer with national experience, agreed to represent Respondent in
February, 2011. His representation lasted until May of that year. When
asked why he had moved to withdraw as trial counsel to Respondent Mr.
Keker replied: ‘the handwriting was on the wall that this was a (indiscernible
word) by Chevron. Judge Kaplan made it clear that he was determined to see
Mr. Donziger, I think, convicted of the charges Chevron was making. Chevron
was, through scorched earth tactics, running up huge bills. They had 160
lawyers working on the case from Gibson Dunn. They had 60 law firms
working on the case that filed for summary judgment motions. It was simply
economically impossible for us to keep up... It was not going to end well...I
filed a motion in which I stated why we were withdrawing.” R. 341.’ Deepak
Gupta, “agreed to represent Respondent on his appeal from the Kaplan
decision because “I felt like a great injustice was being done.” R. 357. “I have
never seen a judge whose disdain for one side of the case was as palpable on
the bench in ways that I think may not have always come through in the
paper record. But it was fairly obvious that Judge Kaplan had great personal
animosity for Steven Donziger.” R. 357.”

       The record of the civil RICO case, beginning with Judge Kaplan’s
reference to RICO during the § 1782 litigation, bears out that assessment.
By repeatedly setting deadlines that exploited the huge imbalance between
Mr. Donziger’s resources and those that Chevron was willing to commit,
Judge Kaplan stripped Mr. Donziger of the attorney-client privilege, his
opportunity to oppose the preliminary injunction in the civil RICO case, and
opportunities to contest post-judgment orders. Whether or not that personal
animosity should have required Judge Kaplan to step aside in the civil RICO
case, it does mean that Judge Kaplan—even if he could supervise an inferior
officer wielding executive power as a constitutional matter—is not an
appropriate principal officer to assure a disinterested and just criminal
prosecution in a separate case

        Against the background of requests to reassign the civil RICO case and
later to disqualify himself based on the manner in which he had conducted
the litigation and negative statements regarding Mr. Donziger, Judge Kaplan
chose both the special prosecutor and the judge who would preside over the




                                                                                   7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 18 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 7




contempt trial and serve as the fact-finder on the criminal contempt charges.
And both Judge Preska, in her order denying a motion for her own recusal,
and Judge Kaplan, in his personal response to Mr. Donziger’s mandamus
petition, have stated that Judge Kaplan did not recuse himself from the
criminal contempt case. The stated decision not to recuse, despite the long
prior history of requests by Mr. Donziger and the Lago Agrio plaintiffs that
Jude Kaplan disqualify himself and necessarily provokes the question: what
does not recusing mean when the case has already been assigned to another
judge?

       The extent and content of any communications regarding the criminal
contempt case between Judge Kaplan and Judge Preska, on the one hand,
and Judge Kaplan and the special prosecutor on the other, remains unknown.
At a January 6, 2020 hearing before Judge Preska, the prosecutor denied the
“claim that Judge Kaplan is in any way coordinating with the prosecution
team or seeking to influence the prosecution team in its decision making, in
its strategy.” ECF 52 at 4. She stated that, “[t]he prosecution team, as we
prosecute this case, does not seek Judge Kaplan's input in our decisions and
the steps that we take, and Judge Kaplan does not offer it or seek to provide
it. Period, full stop.” Id. But that is a less-than-complete denial (bordering
on an admission) of communications between the special prosecutor and
Judge Kaplan. The special prosecutor opposed any further disclosure of
communications with Judge Kaplan or with Chevron’s counsel. Id. at 5, 15-
16, 17. Judge Kaplan’s insistence on going forward with the hearing to
determine whether Mr. Donziger had purged himself of civil contempt over
Mr. Donziger’s objection that he could be forced to present testimony that
could be used against him in the criminal contempt case—in effect an
opportunity to depose the defendant before trial—suggests that information-
sharing short of explicit coordination or strategy discussions could be unfair
to Mr. Donziger.

       Judge Kaplan’s choice of special prosecutor also presents a concern
because the prosecutor did not immediately disclose that her firm had
previously been retained by Chevron in an unrelated and closed matter, and
that a partner in the firm has a close business relationship to Oaktree
Capital Management, a principal of which sits on the Chevron board. Even if
those known connections would not require disqualification under the
supervisory power ruling in Young, they do raise questions that could have
been avoided by the selection of one of hundreds of available former federal
prosecutors without such ties to Chevron.




                                                                                 7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 19 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 8




       The criminal contempt charges, and the manner in which Judge
Kaplan issued the order to show cause alleging them, also raise concerns.
The first three counts involve alleged criminal violations of orders related to
discovery that Mr. Donziger had to disobey to obtain an appealable final
judgment. We know of no case in which a party’s refusal to comply with such
an order triggered criminal contempt charges as to which review of the
validity of the underlying order would be barred. And the viability of Count 5
is in question in light of the Second Circuit’s March 4, 2021 decision holding
that Judge Kaplan’s stay decision injected ambiguity into provisions of the
civil RICO injunction, as the Second Circuit noted in its March 29 home
detention ruling. An ambiguity that precludes civil contempt liability surely
also precludes finding willful criminal contempt. Each of the six counts also
alleges violations of the District Court’s orders over a period ending at the
latest on May 27, 2019, two months before the court issued the order to show
cause, meaning that Judge Kaplan seemingly filed criminal charges even if
Mr. Donziger had already purged himself of civil contempt. Prosecution for
criminal contempt after a person has already complied with an order is, at
the very least, in tension with the principle that the “exercise of that
authority must be restrained by the principle that only [t]he least possible
power adequate to the end proposed should be used in contempt
cases.” Young v. U.S. ex rel. Vuitton et Fils S.A., 481 U.S. 787, 801 (1987)
(cleaned up).

       Because the prosecution is being conducted in the name and under the
authority of the United States, the questions raised should be answered in
the first instance by supervisory officials in the Department of Justice.

  THE JUSTICE DEPARTMENT HAS SUPERVISORY RESPONSIBILITY
 OVER CRIMINAL CONTEMPT PROSECUTIONS IN THE NAME AND BY
      THE AUTHORITY OF THE UNITED STATES EVEN IF THE
           PROSECUTOR WAS APPOINTED BY A COURT

       “Private attorneys appointed to prosecute a criminal contempt action
represent the United States . . . .” Young v. United States ex rel. Vuitton et fils
S. A., 481 U. S. 385, 804 (1987) (emphasis added); see also Robertson v.
United States, 560 U.S. 272 (2010) (Roberts, Ch. J., dissenting from dismissal
as improvidently granted). The case against Mr. Donziger is captioned
United States v. Donziger, and the special prosecutor speaks in court in the
name of “the government.” (Indeed, the official court docket entry for the
special prosecutor includes: “Designation: Assistant United States Attorney”).
Moreover, the prosecution, as opposed to the adjudication of a criminal




                                                                                      7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 20 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 1 9




contempt, is an inherently executive function. See Young v. United States ex
rel. Vuitton, 481 U.S. at 816-17 (1987) (Scalia, J., concurring in the
judgment.) “Criminal contempt is a crime in the ordinary sense; it is a
violation of the law, a public wrong which is punishable by fine or
imprisonment or both.” Bloom v. Illinois, 391 U.S. 194, 201 (1968). The
actions of a special prosecutor wielding the name and authority of the United
States in a contempt case can also impinge directly on executive enforcement
of ordinary criminal law, such as by precluding a prosecution as a violation of
the Double Jeopardy Clause or a plea agreement. See United States v. Dixon,
509 U.S. 688 (1993); Robertson v. United States, 560 U.S. 272 (2010) (Roberts,
Ch. J., dissenting from dismissal as improvidently granted).

       Congress did not, and could not, shift a category of criminal
prosecutors into the judicial branch by vesting the power to appoint a
prosecutor in the court in Rule 42. The Appointments Clause allows judicial
appointments of “inferior officers,” but the exercise by a court of that
appointing authority does not, for example, shift an interim United States
Attorney into the judicial branch by virtue of a judicial appointment pursuant
to 28 U.S.C. § 546(d).

       The Supreme Court thought it “evident that ‘inferior officers’ are
officers whose work is directed and supervised at some level by others who
were appointed by Presidential nomination with the advice and consent of
the Senate.” Edmond v. United States, 520 U.S. 651, 663 (1997); Free Enter.
Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 510 (2010). Supervisory
authority over a special prosecutor must therefore come either from the
executive branch and the Department of Justice or from the appointing court.
But judges do not have the constitutional authority to oversee the conduct of
criminal prosecutions, especially, as is commonly the case (although not here)
when the judge who appointed the special prosecutor will also preside over
the contempt trial. Presiding over a criminal contempt trial is not the kind of
supervision of an inferior officer contemplated by the Appointments Clause.
See Edmond, 520 U.S. at 664-65 (“What is significant is that the judges of the
Court of Criminal Appeals have no power to render a final decision on behalf
of the United States unless permitted to do so by other Executive officers.”).

      Federal law confers oversight over litigation in which the United
States has an interest on the Attorney General. 28 U.S.C. § 516 (“Except as
otherwise authorized by law, the conduct of litigation in which the United
States, an agency, or officer thereof is a party, or is interested, and securing
evidence therefor, is reserved to officers of the Department of Justice, under




                                                                                   7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 21 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 2 0




the direction of the Attorney General.”). Rule 42 authorizes judicial
appointment of a special prosecutor, but it does not thereby create an
exception to the Attorney General’s authority, notwithstanding some dicta in
Young, 481 U.S. at 800, and United States v. Providence Journal Co., 485
U.S. 693, 704-5 (1988), that imprecisely seems to equate judicial appointment
power with judicial branch prosecution. In Providence Journal, the Court
distinguished the Solicitor General’s control over litigation by the United
States in the Supreme Court pursuant to 28 U.S.C. § 518 from the Attorney
General’s control (subject to exceptions) over litigation by the United States
generally. But the more sensible reading of 28 U.S.C. § 516 in light of the
court’s express authority to appoint a special prosecutor in Rule 42 is that the
special prosecutor is—like a court-appointed interim United States
Attorney—an “officer of the Department of Justice under the direction of the
Attorney General.” Cf. Morrison v. Olson, 487 U.S. 654, 671 (1988) (court-
appointed independent counsel is “subject to removal by a higher Executive
Branch official.”); id. at 673-674 (discussing the validity of “interbranch”
appointments, i.e., placing the authority to appoint an officer of one branch in
another). Indeed, it would be quite anomalous for a United States Attorney’s
declination of a request to prosecute a criminal contempt to have the effect of
shifting the prosecution function from one constitutional branch to another.
And, in any event, there is nothing irrevocable about a declination; if need be,
the Department could accept the appointment in order to determine whether
and how the prosecution should proceed.

       There is also no reason why the judicial branch must control criminal
contempt prosecutions (as opposed to initiating a prosecution by issuing an
order to show cause or appointing a prosecutor) in order to assure its own
authority. To be sure, there may be a category of criminal contempt
prosecutions—such as the prosecution of Justice Department officers or
employees—that would require giving the special prosecutor a degree of
independence comparable to that exercised by a special counsel appointed
under the Department’s regulations. See 28 C.F.R. Part 600. But the power
essential to effectuate a court’s orders and judgments by coercing prospective
compliance or by awarding compensation is the civil contempt power. The
purpose of retrospective punishment for violation of a court order to deter
future violations and to instill respect for the law is no different in principle
from the purpose of any other criminal prosecution, including prosecution for
contempt of Congress. Yet no one would argue that Congress could enact a
law placing the authority to prosecute congressional contempt in the
legislative branch.




                                                                                    7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 22 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 2 1




        At the time of the Supreme Court’s decision in Young, the line between
civil and criminal contempt remained blurry, which may account for the
Court’s statement that, “[t]he ability to punish disobedience to judicial orders
is regarded as essential to ensuring that the Judiciary has a means
to vindicate its own authority without complete dependence on other
Branches. Young, 481 U.S. at 796. Both civil and criminal contempt may
involve the imposition of fines or imprisonment. But the Court subsequently
clarified the distinction between civil and criminal contempt in Hicks v.
Feiock, 485 U.S. 624 (1988), and United Mine Workers v. Bagwell, 512 U.S.
821 (1994). Setting aside summary contempt for the purpose of immediately
restoring order in the courtroom, civil contempt sanctions coerce compliance
with a court order or compensate those injured by a violation, while criminal
contempt sanctions punish violations.

       The distinction between punishment and coercion is expressed by the
adage that the contemnor has the keys to the cell, because compliance ends
the confinement. Hicks, 485 U.S. at 632-33. A party who has been held in
criminal contempt, by contrast, can do nothing to lessen the penalty by
complying. Coercive civil contempt power is inherent in the adjudication of
cases or controversies as authorized by Article III because a court’s orders
cannot be rendered toothless by disobedience. But that does not mean the
judicial branch itself must also exercise the quintessentially executive branch
function of prosecuting crimes. Assigning supervision of the investigation
and prosecution of criminal charges would give judges power in, “an area in
which they have no special knowledge or expertise” as judges, although a
judge may, of course, have relevant prior experience. Mistretta v. United
States, 488 U.S. 361, 396 (1989) (quoting Morrison v. Olson, 487 U.S. at 676,
n. 13 (no incongruity in judicial appointment of prosecutorial officers).

      The constitutionally-required oversight of the special prosecutor in Mr.
Donziger’s case must come from the Department of Justice. We therefore
respectfully ask that you order a review of the prosecution and, if necessary




                                                                                   7671325.1
         Case 1:19-cr-00561-LAP Document 302-1 Filed 05/10/21 Page 23 of 23
T H E H O N O R AB L E J O H N P . C AR L I N
AP R I L 2 , 2 0 2 1
P AG E 2 2




      direct the special prosecutor to seek an indefinite adjournment of the
scheduled May 10, 2021 trial until the review can be completed.



                                                Sincerely,


                                                William W. Taylor. III


 cc:       Rita M. Glavin
           Glavin PLLC
           2585 Broadway
           Suite 211
           New York, NY 10025
           rglavin@glavinpllc.com




                                                                               7671325.1
